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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

    THE STATE OF ARIZONA,
    By and through its Attorney General, Mark
    Brnovich, et al.,

                                       PLAINTIFFS,

    v.

    CENTERS FOR DISEASE CONTROL &                    CIVIL ACTION NO. 6:22-cv-00885-RRS-CBW
    PREVENTION; et al.,

                                    DEFENDANTS.


               MEMORANDUM IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                                              INTRODUCTION
           The Plaintiff States seek this Court’s intervention to forestall an imminent calamity:

   Defendants’ attempt to terminate the Title 42 system, which is the only safety valve preventing this

   Administration’s already disastrous border control policies from descending into an unmitigated

   catastrophe. Indeed, it is estimated that half a million migrants will illegally cross into the United States

   in the first month that the challenged order (“Termination Order” or “Order”) goes into effect. Ex. A,

   Declaration of James K. Rogers (“Rogers Decl.”), Ex. 5. The Administration has presented no possible

   way it can identify, quarantine, treat, or mitigate communicable disease risk given the flood of border

   crossings it predicts. If not enjoined, the Termination Order will inflict devastating injuries upon the

   Plaintiff States and the entire nation.

           This is not merely the opinion of the Plaintiff States, but an expectation widely shared even

   by many of the Administration’s otherwise-ardent supporters. Specifically, no less than seven

   Democratic Senators so far have come out in opposition to the Title 42 Termination, and have even

   gone so far as to describe it as a “frightening decision” (Senator Manchin - WV) and to explain that

   “Ending Title 42 is expected to cause a significant increase of migration to the United States and put

   more pressure on an already broken system.” (Senator Tester - MT). Rogers Decl. Exs. 2, 15

   (emphases added). Those same senators are equally clear that the Administration has no plan for

   addressing the resulting surge in unlawful border crossings that the Termination Order will occasion,

   explaining variously:

       •   The “decision to announce an end to Title 42 despite not yet having a comprehensive plan
           ready shows a lack of understanding about the crisis at our border.” (Senator Sinema - AZ).

       •   “Ending Title 42 prematurely will likely lead to a migrant surge that the administration does
           not appear to be ready for.” (Senator Hassan - NH).

       •   “We are nowhere near prepared to deal with that influx.” (Senator Manchin - WV).

       •   “This is the wrong way to do this and it will leave the administration unprepared for a surge
           at the border.” (Senator Cortez Masto - NV).

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       •   “I think this is the wrong time and I haven’t seen a plan that gives me comfort.” (Senator
           Warnock - GA).

   Rogers Decl. Exs. 10, 13-16.

           Moreover, the Administration itself has admitted that the Termination Order will cause a

   massive increase of illegal crossings, with the White House’s own Communications Director outright

   declaring that the Administration “ha[s] every expectation that when the CDC ultimately decides it’s

   appropriate to lift Title 42, there will be an influx of people to the border.” Rogers Decl. Ex. 9 (emphasis

   added). U.S. Customs and Border Protection Commissioner Chris Magnus issued a public statement

   admitting that “[a]s a result of the CDC’s termination of its Title 42 public health order, we will likely

   face an increase in encounters above the current high levels.” Rogers Decl. Ex. 20.

           Thus, there should be no serious debate that the Termination Order will cause a dramatic

   surge in illegal migration into the U.S. if it is not enjoined. And the Fifth Circuit has already recognized,

   the States will suffer harms establishing Article III standing “if the total number of in-State aliens

   increase.” Texas v. Biden, 20 F.4th 928, 969 (5th Cir. 2021) cert. granted 142 S. Ct. 1098 (2022). Those

   harms occur principally in the form of increased expenditures on law enforcement (including jails and

   prisons), health care, and education. And because the States cannot recover against the United States

   and its agencies for these harms, their irrecoverable injuries constitute irreparable harm.

           The Termination Order also stands out as a radical outlier in Administration policy. While the

   Order is expressly premised on claimed improvements in the Covid-19 pandemic, those same

   improvements notably have not resulted in Defendants: (1) lifting the CDC transportation mask

   mandate, (2) loosening or repealing any of their numerous vaccination mandates, or (3) ending their

   relentless campaign to discharge members of our military who have applied for religious exemptions

   for vaccination requirements—which have been almost uniformly denied. First Amended Complaint

   (“FAC”) ¶¶ 9, 13. Amazingly, the “science” underlying these discordant Covid-19 measures just

   happens to align perfectly with the Administration’s political assessments of the relative desirability of
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   those measures for their partisan objectives. This Court, however, is “‘not required to exhibit a naiveté

   from which ordinary citizens are free.’” See Dep’t of Com. v. New York, 139 S. Ct. 2551, 2575 (2019)

   (citation omitted).

           Defendants’ Termination Order is not merely terrible public policy that will inflict enormous

   injuries upon the States. It is also profoundly illegal. That is principally so for two reasons:

   (1) Defendants unlawfully flouted the notice-and-comment requirements for rulemaking under the

   Administrative Procedure Act (“APA”), and (2) Defendants’ Order is arbitrary and capricious, thus

   violating the APA, because it has numerous omissions that each independently render it illegal.

           As to the notice-and-comment claim, Defendants seek to excuse their flouting of that APA

   requirement for two reasons: invoking the “good cause” and “foreign affairs” exceptions of 5 U.S.C.

   §§ 553(a)(1) and (b)(3)(B). But neither applies.

           As to the good cause exception, CDC had ample time to take public comment on revoking

   Title 42 and lacks any pressing need or minimally persuasive excuse for failing to do so. Indeed, CDC

   had been considering taking that action for fourteen months—far more time than needed to take public

   comment. Defendants also ignore completely that CDC did take public comment when implementing

   the Title 42 system, and offers no reason why it could not do so again. Moreover, while the initial

   emergency promulgation of Title 42 properly invoked the good cause exception—because its issuance

   was during the rapidly unfolding beginning of the Covid-19 pandemic—the same is not true here.

   This Order arises two full years into the pandemic, where it is waning in some areas while a new

   variant threatens others. The initial exigency simply does not exist anymore. There is no “pandemic

   exception” to notice-and-comment requirements, particularly two years into it.

           Consider next the foreign affairs exception, which “applies in the immigration context only

   when ordinary application of the public rulemaking provisions [i.e., taking public comment] will provoke

   definitely undesirable international consequences.” East Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 775–76


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   (9th Cir. 2018) (cleaned up) (emphasis added). But CDC offered only a single unspecific sentence

   supporting its foreign-affairs-exception claim, which does not identify any consequences whatsoever.

   Instead, it treats the mere existence of talks with Canada and Mexico about the same subject as a carte

   blanche blessing to dispense with notice-and-comment rulemaking entirely. It is not.

           The Termination Order is also unlawful because it is arbitrary and capricious. That is so for

   two overarching reasons: (1) it fails to consider harms to the States and their reliance interests in the

   prior Title 42 Orders, and (2) it fails—indeed expressly refuses—to consider the immigration

   consequences of its actions, which are virtually certain to be calamitous and necessarily poses a serious

   danger to public health—at least one that must be considered.

           As to the harms to the States, that is undeniably an “important aspect of the problem,” which

   the APA mandated reasoned analysis of. But CDC refused to supply even a scintilla of the required

   analysis. Defendants similarly refused explicitly to consider the States’ reliance interests—a position

   that the Fifth Circuit recently rejected as “astonishing[]” and “squarely foreclosed by” Supreme Court

   precedent. Texas v. Biden, 20 F.4th at 990. Indeed, even if the original Title 42 orders were outright

   illegal—and they plainly were not—CDC still would have been required to consider the States’ reliance

   interests in them. DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020). CDC’s position that

   the States’ interests can be ignored entirely simply because the original Title 42 orders were purportedly

   “short-term”—though lasting two entire years—is thus preposterous.

           The Termination Order’s contention that CDC lacks authority to consider immigration

   consequences is also at war with the Order itself. In particular CDC explicitly delayed the effective

   date of the termination based on immigration consequences—demonstrating that it has authority to

   consider such impacts, but lacks the willingness to do so. That is perhaps unsurprising, as CDC would

   have to take the requisite “hard look” at the man-made disaster that the Termination Order will

   occasion. But unfortunately for Defendants, that is precisely what the APA demands.


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           For all of these reasons, and those explained below, this Court should issue a preliminary

   injunction against implementation of the Termination Order.

                                               BACKGROUND
   I.      TITLE 42 AND CDC AUTHORITY IN THE IMMIGRATION CONTEXT
           The Public Health Services Act (“PHSA”) establishes that, whenever the director of the CDC:

                   determines that by reason of the existence of any communicable disease in a
                   foreign country there is serious danger of the introduction of such disease into
                   the United States, and that this danger is so increased by the introduction of
                   persons or property from such country that a suspension of the right to
                   introduce such persons and property is required in the interest of the public
                   health ... the [CDC Director], in accordance with regulations approved by the
                   President, shall have the power to prohibit, in whole or in part, the
                   introduction of persons and property from such countries or places as he shall
                   designate in order to avert such danger, and for such period of time as he may
                   deem necessary for such purpose.

   42 U.S.C. § 265. Prior to the COVID-19 pandemic, the applicable § 265 regulations only permitted

   “suspend[ing] the introduction of property” and “quarantin[ing] or isolat[ing] persons,” but did “not

   address the suspension of the introduction of persons into the United States under section 362.” 85

   Fed. Reg. 16,559, 16,560 (Mar. 24, 2020).

           A.      History Of Title 42 Orders During Covid-19 Pandemic
                   1.      The March 2020 IFR
           On March 20, 2020, in response to the COVID-19 pandemic, HHS issued an Interim Final

   Rule amending the applicable regulations to create “an efficient regulatory mechanism to suspend the

   introduction of persons” to prevent Covid-19 spread into the U.S. Id. at 16,562.

           In doing so, CDC invoked the APA’s good cause exception to the APA, citing “the national

   emergency caused by COVID-19.” Id. at 16,565. At the same time, however, CDC expressly invited

   “comment on all aspects of this interim final rule, including its likely costs and benefits and the impacts

   that it is likely to have on the public health[.]” Id. After receiving 218 comments during the 30-day

   comment window that closed April 24, 2020, CDC published a final rule September 11, 2020. That


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   rule “establishe[d] final regulations under which the [CDC] may suspend … the introduction of

   persons into the United States for such period of time as the Director may deem necessary to avert

   the serious danger of the introduction of a quarantinable communicable disease into the United

   States.” 85 Fed. Reg. 56,424, 56,424, 56,448 (Sep. 11, 2020) (codified at 42 C.F.R. § 71.40). This Final

   Rule became effective October 13, 2020. (CDC’s collective policies of excluding aliens are hereinafter

   referred to as the “Title 42 Policy” and “Title 42 Orders.”)

                   2.      Title 42 Orders
           Concurrently with the March 2020 IFR, the CDC Director issued an order suspending the

   introduction into the United States of all “persons traveling from Canada or Mexico,” except for “U.S.

   citizens, lawful permanent residents, and their spouses and children” and other limited exceptions. 85

   Fed. Reg. 17,060 (Mar. 26, 2020) (the “March 2020 Order”).

           The March 2020 Order was set to expire after thirty days, but was subsequently renewed twice.

   See 85 Fed. Reg. 22,424, 22,427 (Apr. 22, 2020); 85 Fed. Reg. 31,503 (May 26, 2020). In May, the 30-

   day renewal requirement was abandoned and instead replaced with a mandatory review of the policy’s

   continued necessity every 30 days. 85 Fed. Reg. at 31,504. When the Final Rule became effective, CDC

   issued a new order, the “October 2020 Order,” under its aegis.

           The October 2020 Order was “substantially the same as” prior orders, was subject to 30-day

   periodic reviews, and was to remain in force until CDC had “publish[ed] a notice in the Federal

   Register terminating this Order and its Extensions.” 85 Fed. Reg. 65,806, 65,807, 65,810, 65,812 (Oct.

   16, 2020). The October 2020 Order’s suspension of the entry of aliens, together with the orders that

   preceded it, was based on findings that:

       •   COVID-19 is a communicable disease that poses a danger to the public health;

       •   COVID-19 is present in numerous foreign countries, including Canada and Mexico;

       •   Because COVID-19 is so globally widespread, there is a serious danger that it will be carried

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           into the land points of entry and Border Patrol stations at or near the United States’ borders

           with Canada and Mexico, and from there into the interior of the country;

       •   If their entry were not suspended, covered aliens would go through immigration processing

           that would require many of them (typically aliens who lack valid travel documents and are

           therefore inadmissible) to be held in the congregate areas of the facilities, in close proximity

           to one another, for hours or days;

       •   Holding them in such settings would increase the risk of spreading Covid-19; and

       •   This increased danger rose to the level that it required a temporary suspension of the

           introduction of covered aliens into the United States.

   Id. at 65,810.

           The October 2020 Order noted that CDC had requested “that DHS aid in the enforcement

   [of] this Order because CDC does not have the capability, resources, or personnel needed to do so.”

   Id. at 65,812; see also 42 U.S.C. § 268 (stating that Customs and Coast Guard officers have the duty to

   “aid in the enforcement of quarantine rules and regulations” under the PHSA). As with the prior

   orders, the October 2020 Order applied to all covered aliens, defined as aliens “seeking to enter the

   [U.S.] … who lack proper travel documents,” “whose entry is otherwise contrary to law,” or “who are

   apprehended at or near the border seeking to unlawfully enter the United States.” Id. at 65,807.

           The October 2020 Order noted that expulsions under CDC’s prior Title 42 Orders had

   “reduced the risk of COVID-19 transmission … and thereby reduced risks to DHS personnel and the

   U.S. health care system.” Id. at 65,810. It further noted that “[t]he public health risks to the DHS

   workforce—and the erosion of DHS operational capacity—would have been greater” without the

   initial Title 42 Order. Further, the Title 42 Orders “significantly reduced the population of covered

   aliens in congregate settings in [points of entry] and Border Patrol stations, thereby reducing the risk

   of COVID-19 transmission for DHS personnel and others within these facilities.” Id.

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          On July 19, 2021, CDC issued a new order excepting unaccompanied children. 86 Fed. Reg.

   38,717 (July 22, 2021) (the “July 2021 Order”). It subsequently suspended the October 2020 Order

   and incorporating by reference the July 2021 Order excepting unaccompanied children. 86 Fed. Reg.

   48,828 (Aug. 5, 2021) (the “August 2021 Order”). That order conceded that “the flow of migration

   directly impacts not only border communities and regions, but also destination communities and

   healthcare resources of both.” 86 Fed. Reg. 42,828 42,835 (Aug. 5, 2021).

          On March 11, 2022, CDC issued a new order (the “March 2022 Order”) superseding the

   August 2021 Order. 87 Fed. Reg. 15,243 (Mar. 17, 2022). The March 2022 Order apparently was issued

   in response to litigation in Texas challenging Defendants’ practice of not applying Title 42 to

   unaccompanied alien children (“UAC”). See Texas v. Biden, 21-cv-00579 (N.D. Tex.). The March 2022

   Order found that suspending entry of UACs was “not necessary to protect U.S. citizens.” Id. at 15,245.

   II.    CDC’S TERMINATION ORDER
          On February 2, 2021, President Biden signed Executive Order 14010, in which he ordered

   that “[t]he Secretary of HHS and the Director of CDC, in consultation with [DHS], shall promptly

   review and determine whether termination, rescission, or modification of the [Title 42 orders] is

   necessary and appropriate.” 86 Fed. Reg. 8,267 (Feb. 5, 2021). The federal government has therefore

   been actively considering termination of the Title 42 Policy for over 14 months.

          On April 1, 2022, CDC Director Walensky issued an order terminating the Title 42 policy (the

   “Termination Order” or “Order”) effective May 23, 2022. FAC, Exhibit A; see also 87 Fed. Reg. 19,941

   (Apr. 6, 2022). The Termination Order claimed that it was “not a rule subject to notice and comment

   under the Administrative Procedure Act.” Order at 29. It did so on two putative bases: the “good

   cause” and “foreign affairs” exceptions of 5 U.S.C. §§ 553(a)(1) and (b)(3)(B). Id.




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   III.    TITLE 42 AND THE UNPRECEDENTED SURGE IN ILLEGAL IMMIGRATION
           AT THE SOUTHERN BORDER
           A.       The Failing Situation At the Border
           As explained in greater detail in the FAC (at ¶¶ 104-110), the Administration has lost

   operational control of the border and is facing historically unprecedented levels of illegal crossings

   even with Title 42 in place. See also Appendix Table 1 (DHS Encounters). Indeed, DHS sources have

   indicated that “there have been more than 300,000 known ‘gotaways’—migrants who were not

   apprehended or turned themselves in and who got past agents—since fiscal year 2022 began on

   October 1st.” Rogers Decl. Ex. 1. In addition, “former Border Patrol Chief Rodney Scott said there

   had been approximately 400,000 gotaways in the entirety of FY 2021.” Id.

           B.       The Effect of Title 42 At The Border
           Against the backdrop of historically unprecedented numbers of encounters and “gotaways,”

   the Title 42 Policy resulted in over one million expulsions of aliens unlawfully entering the United

   States in Fiscal Year 2021, and over 400,000 to date in FY 2022. See Appendix Table 2.

           As the Northern District of Texas properly recognized, reducing the likelihood that an alien

   will be released into the United States reduces the number of aliens who attempt to enter the United

   States illegally. Texas v. Biden, No. 2:21-cv-67, 2021 WL 3603341, at *6, *18–19 (N.D. Tex. Aug. 13,

   2021); cf. Zadvydas v. Davis, 533 U.S. 678, 713 (2001) (Kennedy, J., dissenting). (“An alien ... has less

   incentive to cooperate or to facilitate expeditious removal when he has been released, even on a

   supervised basis, than does an alien held at an [ICE] detention facility.”) The Termination Order will

   thus predictably lead to greater numbers of attempted (and successful) crossings.

           Recognizing the essential role that the Title 42 Policy serves, even members of President

   Biden’s own party have severely and extensively criticized the Termination Order. See FAC ¶¶ 2-7.

   They are equally alarmed that this Termination Order will lead to disaster, with Senator Manchin

   calling it a “frightening decision,” and adding that “[w]e are nowhere near prepared to deal with that influx.”


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   Rogers Decl. Ex. 15 (emphasis added). Since the Complaint, Senator Jon Tester has added his voice

   to the chorus of criticism even amongst Democratic Senators, explaining that the Title 42 Order “risks

   undermining our national security” and “is expected to cause a significant increase of migration to the

   United States.” Rogers Decl. Ex. 2.

          DHS officials and officers have similarly made clear that the Order will greatly increase illegal

   crossings into the United States. See FAC ¶¶ 9-12, 31, 108, 199, 205. Indeed, DHS “intelligence

   estimates that perhaps 25,000 migrants already are waiting in Mexican shelters just south of the border

   for Title 42 to end.” Rogers Decl. Ex. 3. A federal law enforcement official told CNN that the number

   of aliens in northern Mexico waiting to cross illegally into the United States is “[b]etween 30,000 to

   60,000.” Rogers Decl. Ex. 4.

          C.      The Order’s (Non-)Consideration of Immigration Consequences.
          The Termination Order acknowledged the likelihood that it would cause major public health

   and immigration consequences, as it delayed the effective date of Termination Order until May 23,

   2022 “to give DHS time to implement additional COVID-19 mitigation measures” and “to provide

   DHS time to implement operational plans for fully resuming Title 8 processing.” Order at 26, 28.

   CDC recognizes that terminating the Order will increase COVID-19 risk and spread, because it “will

   lead to an increase in the number of noncitizens being processed in DHS facilities which could result

   in overcrowding in congregate setting.” Order at 28 The Order itself, however, contains no meaningful

   analysis of the likely increases in crossings into the United States, or the likely consequences of that

   increase in migration in the current context.

          This failure is particularly noteworthy, as Defendants apparently made internal assessments of

   the immigration effects, and are predicting that the daily number of aliens unlawfully trying to enter

   the United States could nearly triple to 18,000 crossing per day. Rogers Decl. Ex. 5. According to a

   former DHS Secretary under the Obama administration, 1,000 crossings in a day is a “relatively bad


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   number” and 4,000 daily crossings is a “crisis.” Rogers Decl. Ex. 6. Neither DHS nor CDC has

   explained whether or how either agency will be capable of safely screening that number of migrants for

   communicable disease, nor could they.

           Furthermore, the Termination Order is in notable conflict with other policies of the Biden

   Administration. The Title 42 Termination is expressly premised on the “rapid[] decrease” of COVID-

   19 cases following the recent wave of the Omicron variant of the virus. FAC, Ex. A at 12. Yet, the

   CDC itself still classifies the level of COVID-19 danger for travelers to Mexico to be “Level 3: High”

   out of a 4-point scale. Rogers Decl. Ex. 7 In fact, every single country or territory in the Western

   Hemisphere that has been rated by the CDC is still rated as either “Level 3: High” or “Level 4: Very

   High.” Rogers Decl. Ex. 8.

                                             LEGAL STANDARD
           To obtain a preliminary injunction, Plaintiff States “must show: (1) a substantial likelihood of

   success on the merits; (2) a substantial threat of irreparable harm if the injunction is not granted; (3)

   that the threatened injury outweighs any harm that the injunction might cause to the defendant; and

   (4) that the injunction will not disserve the public interest.” Opulent Life Church v. City of Holly Springs,

   Miss., 697 F.3d 279, 288 (5th Cir. 2012); accord Winter v. NRDC, 555 U.S. 7, 20 (2008).

                                                 ARGUMENT
   I.      PLAINTIFF STATES HAVE STANDING
           States are “entitled to special solicitude in” the “standing analysis” when they are suing to

   protect their “procedural right[s] and ... [their] quasi-sovereign interests.” Massachusetts v. EPA, 549

   U.S. 497, 520 (2007). And even if Plaintiffs were not entitled to special solicitude, here the harms are

   obvious. The Termination Order will cause increased illegal immigration into the United States. No

   one—least of all the Administration—harbors any doubt about that. In the words of the White House

   Communications Director: “there will be an influx of people to the border.” Rogers Decl. Ex. 9



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   (emphasis added). That prediction is well-grounded: during Title 42’s operation, it resulted in roughly

   1.7 million summary expulsions of those crossing into the U.S. illegally. Appendix Table 2.

           Such large increases in illegal immigration will cause the Plaintiff States harm, principally in

   the form of increased health care, education, law enforcement, and imprisonment costs. See, e.g., Texas

   v. Biden, 20 F.4th 928, 969 (5th Cir. 2021) cert. granted 142 S. Ct. 1098 (2022) (recognizing that “if the

   total number of in-State aliens increases, the States will spend more on healthcare” (emphasis added)).

   Indeed, the Fifth Circuit has been perfectly clear that these sorts of large-scale immigration policies

   are “precisely the sort of large-scale polic[ies] that [are] amenable to challenge using large-scale

   statistics and figures, rather than highly specific individualized documents. And [the State’s] standing

   is robustly supported by just such big-picture evidence.” Id. at 971. Even more tellingly, while DHS

   sought Supreme Court review of that decision, it made zero attempt to challenge that standing holding,

   either in its petition for certiorari or its merits brief. See Petition for Certiorari, Biden v. Texas, No. 21-

   954, 2021 WL 6206109 (U.S. 2021); Brief for Petitioners, Biden v. Texas, No. 21-954, 2022 WL 815341

   (U.S. 2022); Reply Brief for the Petitioners, Biden v. Texas, No. 21-954, 2022 WL 340629 (U.S. 2022).

           As in Texas, the government’s only conceivable standing defense is that the Title 42

   Termination won’t “cause[] either an increase in entries or an increase in parolees.” Texas, 20 F.4th at

   969. But that would be wholly untenable in light of the Administration’s concessions that the Order

   will cause an “influx.” Supra at 1-2, 11. Moreover, a central premise of the delayed May 23 effective

   date is that this influx will be so severe that DHS needs additional time to prepare for it (with even

   Democratic Senators publicly doubting that such planning is remotely sufficient). That conceded

   severe influx precludes any colorable standing defense.

           In addition, the States have submitted evidence showing that changes in federal immigration

   policy cause increased illegal immigration into their states and that illegal immigration causes increased

   costs to the states for law enforcement and social services. See Exhibits B-F.


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           There is universal agreement that Termination Order will induce a flood of additional illegal

   immigration. Arizona’s recent experience helps to quantify just how staggering the impact of this will

   be. Cochise County, Arizona, operates “a sophisticated camera system that views remote areas of the

   border region across a large section of southern Arizona.” Ex. B, Declaration of Anthony R.

   Napolitano (“Napolitano Decl.”), Ex. 1 ¶ 4. That camera system shows that “only 27.6%” of

   “undocumented persons” crossing the southern border were apprehended by the Border Patrol from

   July 2020 to January 2021. Id. Thus, the percentage of “gotaway” aliens who are not apprehended by

   Border Patrol is 72.4%. Put differently, for every three migrants that Border Patrol apprehends,

   another seven successfully enter the U.S. without actually being stopped.

           Defendants’ own internal estimates are that the Termination Order could cause daily illegal

   border crossings to triple. Rogers Decl. Ex. 5. Because the Border Patrol already has a staffing shortage

   of “more than 1,000 officers,” Rogers Decl. Ex. 2, it cannot triple its capacity in response to the

   Termination Order. Assuming that Border Patrol capacity at the southern border remains constant

   and that the Border Patrol continues apprehending the same number of aliens post-Termination

   Order, then the gotaway percentage could increase to 90.8%. Given that the Biden Administration

   predicts that, after Termination Order, 18,000 aliens could illegally cross the border per day, Rogers

   Decl. Ex. 5, there could be an additional 16,341 gotaways every day. A month of such flows could mean

   490,230 unauthorized aliens entering the country undetected—rougly the population of Atlanta. And

   because the Cochise County data was collected before the start of the 2021 border crisis that stressed

   the Border Patrol’s capacity even further, these numbers likely underestimate the number of post-

   Termination gotaways.

           Similarly, the Border Patrol reported 25 notable apprehensions of dangerous criminal aliens at

   the Arizona border in December 2021. Napolitano Dec. ¶¶ 10-11. The Cochise County data of an

   approximate three-to-one ratio of gotaways to apprehensions thus suggests that 75 criminal aliens


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   whose apprehension would have been worth noting publicly managed to enter Arizona undetected in

   December 2021. Once again applying the federal government’s estimate that the number of illegal

   entries will triple and the assumption that Border Patrol capacity may stay static (or increase only

   modestly), then the number of dangerous criminal aliens crossing the border into Arizona undetected

   could increase to 275 per month.

            Criminal aliens impose significant law enforcement costs on the State of Arizona and other

   Plaintiff States. A tripling of illegal crossings will lead to an even greater increase in gotaways, and will

   significantly increase law enforcement costs as a result of the Termination Order. See Napolitano Dec.

   ¶¶ 2-4. These costs include environmental damage due to those crossing illegally, as well as an increase

   in the law enforcement costs incident to combatting the illegal drug trade. See Napolitano Dec. ¶ 4.

   Additionally, some of those who cross illegally will commit crimes and impose incarceration and

   supervised release costs on Arizona. See Napolitano Dec. ¶¶ 6-7.

            Furthermore, decreased enforcement at the border leads also to increased drug trafficking.

   Law enforcement officials in Louisiana have “confiscated drugs suspected to have been moved from

   the border into Louisiana, including but not limited to marijuana, fentanyl, methamphetamine, and

   heroin. This criminal activity requires substantial law enforcement resources to apprehend, detain,

   prosecute, and incarcerate the individuals involved.” Ex. C, Declaration of Tommy Romero, “Romero

   Dec.,” ¶ 4. Law enforcement in Louisiana “is adversely affected by having to devote resources to

   respond to this criminal activity. Those resources are necessarily diverted from other public safety

   activities.” Id.

            Illegal immigration imposes significant costs on healthcare providers and on social services.

   Under federal law, the Plaintiff States are required to spend state monies on Emergency Medicaid for

   aliens not lawfully in the United States. See 42 C.F.R. § 440.255(c). The increased illegal immigration

   induced by the Termination Order will imposes real and significant harm on Plaintiffs. For example,


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   Yuma Regional Medical Center (“YRMC”) in Arizona was forced to provide $546,050 in

   unreimbursed medical care for unauthorized aliens during, for example, the first six months of 2019,

   when border crossings were lower than even their current level. Napolitano Dec. ¶ 4. Applying the

   Cochise County data about gotaways and Defendants’ prediction that illegal border crossings will

   triple suggests that YRMC’s unreimbursed medical care for unauthorized aliens would increase

   dramatically. Similarly, “Missouri expended $361,702 in emergency medical care costs for treatment

   of ineligible aliens during Fiscal Year 2020,” and Missouri had to spend $30,114.11 just on database

   inquiries to “verify unlawful individuals’ lawful immigration status.” Ex. D, Declaration of Maddie

   Green “Green Dec.”, ¶¶ 11-12. If the Termination Order causes an influx of three times the prior

   number of illegal aliens into Missouri, then these expenditures for Missouri could increase by

   approximately $1.2 million a year.

           Since 1982, the Supreme Court has mandated that States provide public education to school-

   age aliens not lawfully in the United States. Plyler v. Doe, 457 U.S. 202, 230 (1982). A tripling of the

   number of illegal alien minors in Plaintiff States will significantly increase education costs the States

   must spend. For example, “Missouri spent an average of $10,654 per student in school year 2019-

   2020,” in in 2018 “an estimated 3,000 illegal alien school-aged children were enrolled in Missouri

   schools.” Green Dec., ¶¶ 8-9. This works out to approximately $32 million spent to educate illegal

   aliens in Missouri during the 2019-2020 school year. If the Termination Order causes an influx of

   three times the prior number of illegal alien children into Missouri, then the cost to Missouri could

   increase by an additional $98 million a year.

           Every Plaintiff State has a population of illegal immigrants residing therein, and will experience

   similar increases to healthcare and social service costs. Id., Ex. C (chart showing illegal alien population

   estimates for each state; see also FAC ¶¶ 114-166 (allegations about illegal alien populations in each




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   Plaintiffs State and the related costs to each state). Compounded across all medical and social services

   in every Plaintiff State, the resulting costs of the Termination Order will be enormous.

           Furthermore, because the Termination Order amplifies Defendants’ lax border enforcement

   policies, it will also incentivize human trafficking for sexual exploitation: “Destination countries with

   weak border security and lax immigration policies in effect create an open door for traffickers to enter

   and do business. It creates more opportunity for them to make money and in turn motivates traffickers

   to recruit more victims from origin countries. Put simply, traffickers would not invest the time and

   resources to groom, recruit and transport large numbers of potential victims to the U.S. border if they

   had reason to believe a crossing would not be possible. There’s no money in that.… Russian mafia,

   Asian organized crime, and Mexican cartels smuggle people into the United States for the purpose of

   human trafficking. Much of this occurs across the U.S.-Mexico border…. Unaccompanied and

   undocumented minors who enter the United States via smugglers are extremely vulnerable to

   traffickers and other abusers. There is no one to file a missing child report, or issue an Amber Alert.

   There is no record that the child is even here in this country. No one even knows to look. In the eyes

   of a trafficker, children in these circumstances make ideal victims.” Ex. E, Declaration of Alison

   Philips, ¶¶ 7-8, 13. Such exploitation occurs in every Plaintiff State. See id.. at 6 and ¶ 20.

           Cross-border human trafficking imposes significant costs on the States and their citizens in

   three ways. First, there are direct costs on the “states for things like law enforcement; and other

   criminal justice system resources, social service costs, [and] the public health system.” Id. ¶ 17. Second,

   human trafficking of aliens to provide unskilled labor “results in lost wages and tax revenue and puts

   downward pressure on wages in general, especially in unskilled labor pools. This further exacerbates

   the economic challenges for individuals working in those areas of the economy which often impacts

   increased demand for assistance with housing and food.” Id. ¶¶ 17, 33-37 And third, “[t]he money

   made through human trafficking by international organized criminal organizations operating in the


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   United States further empowers these entities and contributes to an increase in crime in general.” Id.

   ¶ 17.

           Cross-border human trafficking affects not only border states such as Plaintiff Arizona, but

   all Plaintiffs States. For example, “[f]or the three years 2017 through 2019, between 9% and 12% of

   calls made to the National Human Trafficking Hotline for the state of Missouri involved foreign

   nationals.” Id. ¶ 19. Cases of trafficked aliens are likely underreported because “[m]ost of these victims

   are very isolated and marginalized by physical, geographical, cultural and linguistic factors. They, like

   many human trafficking victims, do not self-identify as victims, do not know their rights, and do not

   know who or how to ask for help.” Id. These victims usually were able to “gain entry into the United

   States due to weaknesses in immigration policy.” Id. Human trafficking, including of minors for sexual

   purposes, has become so pervasive that local law enforcement agencies in Plaintiff States often lack

   the necessary resources to investigate cases that present horrifying circumstances. See, e.g., id. ¶¶ 23-33

   (detailing cases of lack of law enforcement resources to investigate 1) unaccompanied three year girl

   from Ecuador, possibly for sexual purposes; 2) pregnant 12-year-old girl from Honduras; 3) 11-year-

   old Central American illegal alien rape victim who had been photographed “wearing lingerie and had

   sent thousands of nude photos of herself to adult men on her phone”; 4) “50 Hispanic children

   between the ages of 10 and 16” being trafficking in the back of a “tractor trailer for over 20 hours,”

   where they “had been malnourished and beaten” and were abandoned when the semi-truck pulling

   the trailer broke down).

           And beyond the costs to the States and their citizens, the trafficking which will be facilitated

   by the Termination Order will do untold harm to the lives of the victims of such trafficking.

           Defendant DHS itself has acknowledged the immense harm caused by (intentionally) weak

   border enforcement. It specifically has acknowledged that both Arizona and Louisiana are “directly

   and concretely affected by changes ... that have the effect of easing, relaxing, or limiting immigration


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   enforcement. Such changes can negatively impact [Arizona’s and Louisiana’s] law enforcement needs

   and budgets, as well as its other important health, safety, and pecuniary interests.” Napolitano Dec.,

   Ex. 7, Memorandum of Understanding Between DHS and the Arizona Attorney General (“DHS-

   Arizona MOU”) at 2; Ex. F, Declaration of Wilbur “Bill” Stiles (“Stiles Dec.”), Ex. A, Memorandum

   of Understanding Between DHS and the Louisiana Department of Justice (“Louisiana-DHS MOU”)

   at 2. DHS has also recognized that “rules, policies, procedures, and decisions that could result in

   significant increases to the number of people residing in a community” will “result in direct and

   concrete injuries to [Arizona and Louisiana], including increasing the rate of crime, consumption of

   public benefits and services, strain upon the healthcare system, and harm to the environment, as well

   as increased economic competition with the State of Arizona 's current residents for, among other

   things, employment, housing, goods and services.” DHS-Arizona MOU at 3; DHS-Louisiana MOU

   at 2-3.

             Given the multitude and magnitude of the harms that the Title 42 Termination will have upon

   the Plaintiff States, those States readily satisfy the requirements for Article III standing.

   II.       PLAINTIFF STATES ARE LIKELY TO SUCCEED ON THEIR NOTICE-AND-COMMENT
             CLAIM
             Plaintiffs are likely to prevail on the merits as Defendants issued the Termination Order in

   violation of the notice-and-comment requirements of the APA.

             A.      The Termination Order Is A Substantive Rule Generally Requiring Notice-
                     And-Comment Rulemaking
             As an initial matter, there is little doubt that the Termination Order is a “rule” under the APA:

   the Order itself concedes that it is “a major rule … [under] the Congressional Review Act,” Order at

   29 n.185—thereby necessarily making it a “rule” under the APA. See 5 U.S.C. § 804(2)-(3).

             The Termination Order also does not fall within the exception for procedural rules,

   interpretive rules, or general statements of policy. Where “the rule is based on an agency’s power to


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   exercise its judgment as to how best to implement a general statutory mandate, the rule is likely a

   legislative one,” requiring notice and comment. United Techs. Corp. v. EPA, 821 F.2d 714, 719-20 (D.C.

   Cir. 1987). Here CDC is doing just that—exercising its judgment (albeit poorly). Moreover, “the

   Supreme Court has said that if an agency … effects ‘a substantive change in the regulation,’ notice and

   comment are required.” U.S. Telecom Ass’n v. FCC, 400 F.3d 29, 35 (D.C. Cir. 2005) ((emphases added)

   (citation omitted). The Termination Order plainly does so for the prior Title 42 Orders.

           Seemingly recognizing that notice-and-comment rulemaking was otherwise required, the

   Termination Order attempts to invoke the “good cause” and “foreign affairs” exceptions of 5 U.S.C.

   §§ 553(a)(1) and (b)(3)(B). The validity of its entire rule thus turns on whether CDC has met its burden

   of establishing those exceptions apply—for which CDC offered only a single paragraph (on page 29

   of the Termination Order). As explained next, that skeletal paragraph does not satisfy either exception.

           B.      Defendants’ Attempt To Invoke The Good Cause Exception Fails
           For decades now, it has been “commonplace that notice-and-comment rule-making is a

   primary method of assuring that an agency’s decisions will be informed and responsive.” New Jersey

   Dep’t of Env’t Prot. v. EPA, 626 F.2d 1038, 1045 (D.C. Cir. 1980). For that reason, “it is well established

   that the ‘good cause’ exception to notice-and-comment should be ‘read narrowly in order to avoid

   providing agencies with an ‘escape clause’ from the requirements Congress prescribed.’” United States

   v. Johnson, 632 F.3d 912, 928 (5th Cir. 2011) (quoting United States v. Garner, 767 F.2d 104, 120 (5th Cir.

   1985)). Indeed, all of the “various exceptions … will be narrowly construed and only reluctantly

   countenanced” by federal courts. Id. at 1045 n.88 (quoting New Jersey v. EPA, 626 F.2d 1038, 1045

   (D.C. Cir. 1980)); see also Mack Trucks, Inc. v. EPA, 682 F.3d 87, 93 (D.C. Cir. 2012) (good-cause

   exception is not an “escape clause[]” to be “arbitrarily utilized at the agency’s whim”).

           Federal courts’ “review of the agency’s legal conclusion of good cause is de novo.” Sorenson

   Commc’ns Inc. v. FCC, 755 F.3d 702, 706 (D.C. Cir. 2014). In assessing whether good cause exists, this


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   Court “must rely only on the ‘basis articulated by the agency itself’ at the time of the rulemaking. ‘Post

   hoc explanations’” do not suffice. Johnson, 532 F.3d at 928 (cleaned up).

           Here, CDC’s rationale that “good cause” exists is fatally infirm for four independent reasons.

                   1.       Defendants Had Ample Time To Conduct Notice-And-Comment
                            Rulemaking
           CDC’s “good cause” invocation fails most obviously because the agency had ample time to

   take and respond to public comment about terminating the Title 42 Orders during the 14 months in

   which it was explicitly considering that very question. The Fifth Circuit has made plain that “the good

   cause exception should not be used to circumvent the notice and comment requirements whenever

   an agency finds it inconvenient to follow them.” Johnson, 632 F.3d at 929. But that is all that CDC’s

   rationale amounts to.

           Under Johnson—binding authority here—a central question is whether “[f]ull notice-and-

   comment procedures could have been run in the time taken to issue the [challenged] rule.” Id. at 929 (emphasis

   added). Here it plainly could: 14 months is more than sufficient time to take and respond to comments,

   particularly as CDC did so in 6 months for the issuance of the October 13, 2020 final rule following the

   March 20, 2020 interim-final rule that amended 42 C.F.R. § 71.40 to permit Title 42 Orders to reach

   individuals. Supra at 5-7. Similarly, in Johnson the available time period was “seven months”—which

   precluded good cause. Id.; see also Env’t Def. Fund, Inc. v. EPA, 716 F.2d 915, 920-21 (D.C. Cir. 1983)

   (holding eight-month delay was similarly infirm). CDC had twice as much time here.

           More specifically in the Covid-19 context, this Court has held that HHS lacked good cause

   where it “took Agency Defendants almost three months (eighty-two days) from September 9, 2021

   [when the mandates were announced], to November 30, 2021, to prepare the Head Start Mandate.

   The situation was not so urgent that notice and comment were not required.” Louisiana v. Becerra, __

   F. Supp. 3d __, 2022 WL 16571, at *13 (W.D. La. January 1, 2022). But here CDC had nearly five times

   that long between when EO 14010 mandated consideration of terminating Title 42 and its actual

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   termination. And the federal government tellingly did not even appeal from that preliminary injunction.

          Moreover, given that CDC has been actively considering whether to revoke Title 42 since

   February 2021, any “emergency” here was of the agency’s “own making [and] can[not] constitute

   good cause.” NRDC v. Abraham, 355 F.3d 179, 205 (2d Cir. 2004). Indeed, “‘[o]therwise, an agency

   unwilling to provide notice or an opportunity to comment could simply wait until the eve of a

   statutory, judicial, or administrative deadline, then raise up the good cause banner and promulgate

   rules without following APA procedures.’” NRDC v. NHTSA, 894 F.3d 95, 114-15 (2d Cir. 2018)

   (collecting cases). That is precisely what CDC has done here.

                  2.      CDC Improperly Ignores Its Prior Use Of Notice-And-Comment
                          Procedures And Instead Relies On The Covid-19 Pandemic As A
                          Categorical Exception
          For similar reasons, CDC’s “good cause” rationale is obviously deficient and would fail even

   under arbitrary-and-capricious review—not the applicable de novo standard here—because it entirely

   ignores the agency’s prior use of notice-and-comment procedures in this context.

          CDC’s principal “good cause” rationale appears to be that Title 42 Orders relating to the

   Covid-19 pandemic need not comply with Section 553: “Given the extraordinary nature of an order under

   Section 265 [i.e., Title 42], the resultant restrictions on application for asylum and other immigration

   processes under Title 8, and the statutory and regulatory requirements that an CDC order under the

   authority last no longer than necessary to protect the public health [good cause exists].” Order at 29

   (emphasis added). But essentially all of that rationale could be said for the issuance of the March 20,

   2020 regulations that permitted CDC to issue Title 42 orders—which the agency did take public

   comment on. Supra at 5-7.

          By failing to address the fact that CDC previously did not regard major changes in the Title

   42 system as “extraordinary” actions for which notice-and-comment could be dispensed with entirely,

   CDC violated the APA. And just as the initial promulgation of the Title 42 system was sufficiently


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   significant to demand notice-and-comment, its repeal is equally significant under CDC’s own

   precedents. See also 5 U.S.C. § 551(5) (APA requirements apply for “repealing a rule”).

          Federal courts “have never approved an agency’s decision to completely ignore relevant precedent.”

   Jicarilla Apache Nation v. DOI, 613 F.3d 1112, 1120 (D.C. Cir. 2010) (emphasis added). But that is

   exactly what CDC has done here. At a bare minimum, the Termination Order’s complete failure to

   acknowledge the prior public commenting—let alone explain the differential treatment here—violates

   the APA. And while DOJ will undoubtedly now attempt to backfill those omissions, such “[p]ost hoc

   explanations” cannot cure APA violations. Johnson, 532 F.3d at 928 (cleaned up).

                  3.      The Current Circumstances Do Not Constitute Good Cause
          CDC’s good-cause rationale also fails to account for the current context—which differs

   radically from the initial issuance of the Title 42 Order. We are not—unlike March 2020—in the first

   month of a once-in-a-century pandemic of rapidly exploding infection numbers. Instead, we have now

   begun the third year of this pandemic, and have a very clear sense of available testing, treatment, and

   prevention capacities and the rates at which those tools are becoming available. The risk CDC appears

   to be calculating (which, of course, irrationally omits the risk of an immigration surge) was entirely

   predictable. In short, as predictability has increased, the exigencies have substantially decreased. But

   agencies’ willingness to exploit the pandemic to evade notice-and-comment requirements has

   simultaneously grown ever bolder even as case numbers decrease. And lawless. As the Fifth Circuit has

   explained in strikingly similar circumstances, the OSHA vaccine mandate’s “stated impetus—a

   purported ‘emergency’ that the entire globe has now endured for nearly two years … is unavailing.”

   BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 611 (5th Cir. 2021); see also Louisiana v. Becerra, 2022 WL

   16571, at *13 (collecting cases rejecting reliance on Covid-19 pandemic to invoke good cause

   exception). And unlike fine wines, this legal gambit does not improve with age into this pandemic.




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           Moreover, good cause does not exist where agency action “does not stave off any imminent

   threat to the environment or safety or national security.” Mack Trucks, Inc., 682 F.3d at 93. But here,

   CDC rather ironically invokes the “good cause” exception to rescind a regulation that even Democratic

   Senators acknowledge has staved off an imminent threat, and instead dispenses with notice-and-comment

   so that the agency can ensure that imminent threat comes to pass. CDC cannot invoke the “good cause”

   exception to inflict a disaster on the U.S. border, rather than “stave [one] off.” But that is just what it

   seeks to do here.

                   4.       CDC’s Timing Rationale Is Unpersuasive
           Finally, CDC’s “good case” invocation rests on a timing rationale that is both counter-intuitive

   and pretextual. Specifically, CDC relies overwhelmingly on its purported need for more time as a basis

   for dispensing with notice-and-comment requirements—just apparently not sufficient additional to

   permit taking and responding to public comment. Within CDC’s threadbare one-paragraph rationale,

   it remarkably makes this point twice, demonstrating its centrality:

               •   “In light of … DHS’s need for time to implement an orderly and safe termination of this

                   order, there is good cause not to delay issuing this termination … past May 23, 2022.”

               •   “It would be impracticable … to delay the effective date … beyond May 23, 2022.”

           CDC’s apparent position is thus simultaneously (1) some delay of the effective date of the

   Termination Order is absolutely essential to avoiding “significant disruption” but that (2) sufficient

   delay to permit notice-and-comment compliance must be avoided at all costs because … well CDC

   doesn’t ever say. Order at 29. The Order does allude to the purported “statutory and regulatory

   requirement that a CDC order under the authority last no longer than necessary to protect public health.” Id.

   (emphasis added). But two problems with that: (1) no such requirement exists (and CDC supplies no

   citation to it) and (2) that rationale is contradicted on the face of the Order: CDC is explicitly delaying




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   implementation until May 23 not because of any public-health based reason, but explicitly based on

   “DHS’s need for time to implement an orderly and safe termination of the order.” Id. (emphasis added).

           The Termination Order is thus self-contradictory on its face and cannot establish good cause.

           C.      Defendants’ Reliance On The “Foreign Affairs” Exception Is Unavailing
           Defendants alternatively attempt to excuse notice-and-comment compliance by invoking the

   “foreign affairs” exception of 5 U.S.C. § 553(a)(1). That too is unavailing.

           As an initial matter, this is hardly the first time that an administration has attempted to invoke

   the “foreign affairs” exception in the immigration context—which courts have frequently and

   repeatedly struck down. Defendants’ attempt here is particularly flimsy and merits decisive rejection.

           Immigration matters, by their very nature, have implications for “foreign affairs.” But federal

   courts have long ago made clear that such implications do not provide generalized immunity from

   notice-and-comment requirements: “The foreign affairs exception would become distended if applied

   to INS actions generally, even though immigration matters typically implicate foreign affairs.” Yassini

   v. Crosland, 618 F.2d 1356, 1360 n.4 (9th Cir. 1980). Instead, for the exception to apply, “‘the public

   rulemaking provisions should provoke definitely undesirable international consequences.” East Bay, 932 F.3d

   at 775 (quoting Yassini, 618 F.2d at 1360 n.4); accord Rajah v. Mukasey, 544 F.3d 427, 437 (2d Cir. 2008)

   (applying same “definitely undesirable international consequences” standard); Am. Ass’n of Exporters

   & Importers-Textile & Apparel Grp. v. United States, 751 F.2d 1239, 1249 (Fed. Cir. 1985) (same); Jean v.

   Nelson, 711 F.2d 1455, 1477 (11th Cir. 1983) vacated and rev’d on other grounds, 727 F.2d 957 (11th Cir.

   1984) (en banc) (same).1

           CDC offers the sum total of one sentence of reasoning to meet this demanding definitely-

   undesirable-consequences standard: “this Order concerns ongoing discussions with Canada, Mexico,


   1
     The Fifth Circuit does not appear to have addressed the “foreign affairs” exception yet. But there is
   no reason to believe that it would split from, and adopt a less-stringent standard than, the four circuits
   have adopted the “definitely undesirable consequences” standard.
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   and other countries regarding immigration and how best to control COVID-19 transmission over

   shared borders and therefore directly ‘involves a foreign affairs function of the United States.’” Order

   at 29 (quoting 5 U.S.C. § 553(a)(1)). That is not even conceivably sufficient.

           That single sentence does not identify any potential “undesirable international

   consequences”—let along ones that will “definitely” occur. That rationale is thus insufficient on its

   face. Indeed, it is exactly what courts have made clear does not suffice: “the foreign affairs exception

   requires the Government to do more than merely recite that the Rule ‘implicates’ foreign affairs.” East

   Bay, 932 F.3d at 775. But that is all CDC has done here, with the slight modification of swapping the

   word “implicates” for “involves.” Moreover, just as while the “reference in the Rule that refers to our

   ‘southern border with Mexico’ [wa]s not sufficient” in East Bay, the mere allusion to discussions with

   Canada, Mexico, and unspecified other counties does not suffice here.

           Accepting CDC’s threadbare rationale here would have particularly pernicious effects. It

   would effectively permit any agency to avoid notice-and-comment rulemaking through the expedient

   of talking perfunctorily with foreign nations about the same subject—which is all that CDC says here.

   In other words, the executive branch could avoid any obligation to give notice to, and take comments

   from, the American public by talking to a foreign government or two instead. If that were the law, why

   would an agency ever trouble itself with intentionally burdensome notice-and-comment requirements

   when it could instead engage in a cursory and unburdensome conversation with a foreign government?

   Thankfully, federal courts have never permitted such naked circumvention of the APA under the

   foreign affairs exception, and there is no reason for this case to be the first.

           D.      Defendants’ Circumvention Of Notice-And-Comment Requirements Is Part
                   Of A Broader Pattern
           It is also important to note that Defendants’ skirting of notice-and-comment requirements in

   the immigrant context is hardly an outlier. Indeed, those APA violations are by now notorious with

   federal courts. See, e.g., Texas v. United States, __ F. Supp. 3d ___, 2021 WL 3683913, at *51-58 (S.D.

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   Tex. Aug. 19, 2021) (holding that DHS’s issuance of Interim Guidance, which similarly and severely

   reduced removals of aliens with criminal convictions, violated notice-and-comment requirements);

   Texas v. United States, 524 F. Supp. 3d 598, 656-62 (S.D. Tex. 2021) (holding same for 100-day

   moratorium on immigration removals). Indeed, Justice Kagan recently observed at oral argument

   another potential violation by DHS, explaining that “[t]he real issue to me is [DHS’s] evasion of notice-

   and-comment.”2

           Defendants’ violation of notice-and-comment requirements is thus no one-off aberration, but

   rather part of a recidivous pattern that requires decisive judicial response—particularly as the judicial

   decisions cited above were apparently insufficient to convince Defendants to comply with notice-and-

   requirements here.

   III.    PLAINTIFFS ARE LIKELY TO PREVAIL ON THEIR ARBITRARY-AND-CAPRICIOUS CLAIM
           The Plaintiff States are also independently likely to prevail on the merits as the Termination

   Order is arbitrary and capricious. It is well-established that “agency action is lawful only if it rests on

   a consideration of the relevant factors” and considers all “important aspects of the problem.” Michigan

   v. EPA, 576 U.S. 743, 750-52 (2015) (requiring “reasoned decisionmaking”). This means agencies must

   “examine all relevant factors and record evidence.” Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d

   914, 923 (D.C. Cir. 2017). Here, Defendants ignored entire “important aspects of the problem,” and

   thus violated the APA.

           A.      CDC’s Failure to Consider Financial Harms to the States and Other Reliance
                   Interests Is Arbitrary and Capricious
           As discussed above, the termination of the Title 42 policy will impose significant financial

   harms on the States by generating an enormous new influx of illegal immigrants. Supra at 1-2, 9-14; see

   also FAC ¶¶ 104-175. CDC’s Order gives no consideration to such financial harms and reliance


   2
      Transcript at 47-48, Arizona v. San Francisco, No. 20-1775 (U.S. Feb. 23, 2022) available at
   https://bit.ly/3itwfq7

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   interests. Instead, CDC insists that it does not have to consider them because, on CDC’s current view,

   such reliance interests would not be “reasonable” or “legitimate.” Order at 23. As the agency states,

   “CDC has determined that no state or local government could be said to have legitimately relied on

   CDC Orders issued under [Title 42] to implement long-term or permanent changes to its operations

   because those orders are, by their very nature, short-term orders….” Id. This is erroneous as a matter

   of law. In fact, as the Fifth Circuit recently held, the federal government’s argument that it “had no

   obligation to consider the States’ reliance interests at all” is “astonishing[]” and “squarely foreclosed

   by” Supreme Court precedent. Texas v. Biden, 20 F.4th at 990. It is no less astonishingly bad here.

                    1.      CDC did not consider financial harms to the States or other reliance
                            interests
           As an initial matter, it is perfectly clear that the CDC did not actually consider any financial or

   public-health harms to the States or other reliance interests, because the CDC repeatedly admits that

   it has no idea whether or to what extent such harms exist. See Order at 25 (“As a factual matter, CDC

   is not aware of any reasonable or legitimate reliance on the continued expulsion of covered

   noncitizens…”); id. (discounting “any reliance interest that might be said to exist”); id. (“To the extent that

   any state or local government did rely on the expulsion of noncitizens for purpose of resource

   allocation…”) (emphases added). CDC’s professed ignorance is unsurprising, because CDC did not

   bother to consult with the States before terminating Title 42. Most notably, CDC did not provide the

   notice-and-comment procedure required by the APA, and thus its failure to consider State reliance

   interests was preordained—the CDC did not know what they were, and it did not try to find out.

           This violated the APA. The financial impact on the States is unquestionably an “important

   aspect of the problem.” Michigan, 576 U.S. at 752. Indeed, the Supreme Court has repeatedly

   recognized “the importance of immigration policy to the States,” particularly as the States “bear[]

   many of the consequences of unlawful immigration.” Arizona v. United States, 567 U.S. 387, 397 (2012).

   The CDC has no license to inflict massive financial injuries on the States without at least first

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   considering what the magnitude of those harms might be and whether they could be mitigated if the

   agency considered alternatives with those harms in mind. Michigan, 576 U.S. at 752; id. at 759

   (explaining that agencies “must consider cost … before deciding whether regulation is appropriate

   and necessary”).

           In fact, CDC’s failure to consider State reliance interests commits a twofold violation of the

   APA. First, the States’ financial and public-health harms and other injuries from CDC’s termination

   decision are themselves an “important aspect of the problem.” Michigan, 576 U.S. at 752. In addition,

   by refusing to consider them, CDC necessarily abandoned its duty to consider whether alternative

   approaches would be less burdensome for the States. “[W]hen an agency rescinds a prior policy its

   reasoned analysis must consider the ‘alternatives’ that are ‘within the ambit of the existing policy.’”

   DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020) (cleaned up) (citation omitted). Here,

   CDC did not consider any “alternatives … within the ambit of the existing policy,” id., that might

   alleviate the burdens on the States, because it did not consider those burdens in any fashion.

           The CDC’s failure to consider the practical impact of its Order on the States is particularly

   egregious because, as discussed further below, the CDC did consider the practical impact on federal

   agencies like DHS. The CDC makes clear that, although it has determined that the public-health

   justification for the Title 42 policy no longer exists now, it delays implementation of the termination

   until May 23, 2022, to allow DHS to “ready its operational capacity.” Order at 28. In fact, the CDC’s

   own regulations authorize it to “consult with any State or local authorities” before issuing Title 42

   orders. 42 C.F.R. § 71.40(d). The CDC’s decision to consider practical impacts on federal agencies but

   not state agencies is the antithesis of reasoned decision-making.

                   2.      The Supreme Court and Fifth Circuit have rejected the CDC’s
                           justification for refusing to consider State reliance interests
           The CDC’s stated justification for categorically discounting financial harms and other reliance

   interests of the States contradicts governing law from the Supreme Court and the Fifth Circuit. In

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   Regents, the Supreme Court held that DHS acted arbitrarily and capriciously in failing to consider

   “whether there was ‘legitimate reliance’ on the DACA Memorandum,” which established the Deferred

   Action for Childhood Arrivals program. 140 S. Ct. at 1913. “When an agency changes course,” the

   Supreme Court held, “it must ‘be cognizant that longstanding policies may have engendered serious

   reliance interests that must be taken into account.’” Id. (citation omitted)). “It would be arbitrary and

   capricious to ignore such matters.” Id.

           In so holding, the Supreme Court rejected the same reasoning that the CDC employed to

   avoid considering State reliance interests here. In Regents, as here, the Government contended that it

   did not need to consider reliance interests because there could be no legitimate, reasonable reliance

   on DACA as a matter of law: “[T]he Government does not contend that [the Secretary] considered

   potential reliance interests; it counters that she did not need to.” Id. at 1913. The Government argued

   that “DACA recipients have no ‘legally cognizable reliance interests’ because the DACA

   Memorandum stated that the program ‘conferred no substantive rights’ and provided benefits only in two-

   year increments.” Id. (emphasis added). In other words, echoing the CDC here, the Government argued

   that any reliance interests were not reasonable or legitimate because the program created no vested

   rights and was inherently temporary. Compare id. with Order at 23-24. The Supreme Court rejected this

   argument as putting the cart before the horse: “[N]either the Government nor the lead dissent cites

   any legal authority establishing that such features automatically preclude reliance interests, and we are

   not aware of any. These disclaimers are surely pertinent in considering the strength of any reliance

   interests, but that consideration must be undertaken by the agency in the first instance, subject to

   normal APA review.” Regents, 140 S. Ct. at 1913-14.

           Thus, the Supreme Court rejected the same reasoning that the CDC employed to absolve itself

   of considering reliance interests here. Even if the CDC believes such reliance interests will turn out to




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   be attenuated or illegitimate, it must at least consider them: “[T]hat consideration must be undertaken

   by the agency in the first instance.” Id.

                    3.      The CDC was obligated to consider financial harms to the States
                            flowing from its Termination Order, even without a showing of prior
                            “resource-allocation” decisions based on the Title 42 policy
           The CDC’s reasoning suffers from another fatal defect. The Termination Order assumes that,

   to establish “legitimate” reliance interests, the States must show that they made specific resource-

   allocation decisions in reliance on the Title 42 policy. Order, at 23 (determining that “no state or local

   government could be said to have legitimately relied on the CDC Orders issued under [Title 42] to

   implement long-term or permanent changes to its operations…”) id. at 25 (“To the extent that any state or local

   government did rely on the expulsion of noncitizens for purposes of resource allocation….”); id. (“CDC

   concludes that resource allocation concerns do not outweigh CDC’s determination…”) (emphases added).

   Again, governing precedent squarely forecloses this reasoning. The Supreme Court in Regents

   specifically held that the reliance interests that the agency must consider include financial costs to the

   States, noting that “States and local governments could lose $1.25 billion in tax revenue each year.”

   Regents, 140 S. Ct. at 1914. The Supreme Court did not hold that specific resource-allocation decisions

   were required to render such costs a “noteworthy concern[]” that the agency must consider. Id.

           Likewise, in Texas v. Biden, which considered the termination of another major border-control

   policy—the Trump Administration’s Migrant Protection Protocols (“MPP”)—the district court

   explicitly held that “fiscal harm from the termination of MPP” to the States was an important aspect

   of the problem that the agency was required to consider. Texas v. Biden, 2021 WL 3603341 at *19.

   “[T]he fact that the agency did not consider the costs to the States at all” rendered the termination

   decision “arbitrary and capricious.” Id. “Fiscal burdens on states are ‘one factor to consider’ — even

   if the agency could conclude that ‘other interests and policy concerns outweigh’ those costs.” Id.

   (quoting Regents, 140 S. Ct. at 1914). Again, in Texas v. Biden, there was no showing of specific resource-


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   allocation decisions made by the States in reliance on MPP—the fact that terminating MPP would

   impose significant costs on the States was itself an important aspect of the problem that must be

   considered under the APA.

           The Fifth Circuit affirmed this holding, agreeing that the “States’ reliance interests” included

   “costs to States.” Texas v. Biden, 20 F.4th at 990, cert. granted on other grounds, 142 S. Ct. 1098 (2022).

   Citing Regents, the Fifth Circuit agreed that “the States’ reliance interests” included financial harms,

   such as Regents’ assertion that “States and local governments could lose $1.25 billion in tax revenue

   each year.” Id. (quoting Regents, 140 S. Ct. at 1914). Thus, under governing Fifth Circuit precedent, the

   States need not demonstrate that they engaged in specific resource-allocation decisions to establish

   important interests in the Title 42 program. The fact that the program’s abrupt termination will impose

   significant financial costs on them is an important aspect of the problem that the CDC was obliged

   to consider—regardless of each State’s “resource-allocation” decisions. Indeed, in Texas v. Biden, the

   Government made the same argument that the CDC makes here, and the Fifth Circuit rejected it as

   “astonishing[]”: “Astonishingly, the Government responds that DHS had no obligation to consider

   the States’ reliance interests at all. Yet again, that contention is squarely foreclosed by Regents.” Id.

   (quotation omitted).

           Finally, it makes good sense to treat new financial costs and harms to the States as inherently

   disrupting State reliance interests, as both the Supreme Court and Fifth Circuit have done. As the

   federal Government acknowledged in its Agreements with Arizona and Louisiana, State agency

   budgets are typically “set months or years in advance,” and each State typically “has no time to adjust

   its budget in response to [immigration] policy changes.” Doc. 1-2, at 1; Doc. 1-3, at 1. Thus, new and

   unanticipated costs and financial harms from a change in federal immigration policy, arising in the

   midst of a budget cycle, necessarily disrupt State reliance interests—regardless of whether the States

   made specific “resource-allocation” decisions in conscious reliance on the former policy.


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                   4.      The CDC’s other arguments are meritless, arbitrary, and capricious
           The CDC’s other justifications for refusing to consider reliance interests are equally arbitrary

   and capricious. The Termination Order argues that no one could have relied on CDC’s two-year-long

   Title 42 policy because its scope has “fluctuated due to litigation, further rendering it unreasonable for

   any state or local government to have acted in reliance on the continued exercise of the authority.”

   Order at 24. This is just another variation of the same argument rejected in Regents, i.e., that the

   program was inherently short-term and conferred no guarantee of future benefits. Regents, 140 S. Ct.

   at 1913. It fares no better than the CDC’s reliance on the temporary nature of Title 42 orders. In any

   event, the CDC’s claim that its legal authority has “fluctuated due to litigation,” Order at 24, is

   unsupportable. The CDC cites only two cases. First, it cites a preliminary injunction in P.J.E.S. v. Wolf,

   502 F. Supp. 3d 492 (D.D.C. 2020), which it admits was stayed pending appeal by the D.C. Circuit. Order

   at 24 & n.163 (admitting that “the Government obtained a stay of the injunction in January 2021”).

   Second, it cites an injunction against “the expulsion of FMU” [i.e., individuals in family units] in Huisha-

   Huisha v. Mayorkas, 2021 WL 4206688, at *12 (D.D.C. Sept. 16, 2021), but it then admits that the “D.C.

   Circuit recently upheld the government’s authority under 42 U.S.C. § 265 to expel FMU.” Id. (emphasis

   added). In other words, CDC’s evidence of “fluctuation due to litigation” consists of two cases where

   the Court of Appeals effectively upheld the CDC’s authority. This reasoning is itself arbitrary and

   capricious. See Texas v. Biden, 554 F. Supp. 3d 818 (N.D. Texas 2021) (mischaracterizing evidence and

   considering “irrelevant” factors is arbitrary and capricious).

           Next, the CDC argues that States could not reasonably rely “on CDC’s indefinite use of its

   expulsion authority under Section 265,” because the pandemic would eventually subside, and “42

   U.S.C. § 265 only authorizes CDC to prevent the introduction of noncitizens when it is required in

   the interest of public health.” Order at 24-25. These arguments merely rehash the CDC’s claim that

   there could be no “legitimate” reliance on the Title 42 policy because it was inherently temporary. As


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   discussed above, this argument is “squarely foreclosed by Regents.” Texas v. Biden, 20 F.4th at 990. In

   particular, Regents anticipated and rejected the CDC’s argument that it need not consider any reliance

   interests because it supposedly lacks legal authority to extend it further. The dissent in Regents made a

   similar argument, i.e., that the agency did not need to consider reliance on DACA because the entire

   program was illegal. See, e.g., Regents, 140 S. Ct. at 1919 (Thomas, J., dissenting) (arguing that the DACA

   “program was unlawful from its inception”). Nevertheless, the majority held that the agency was still

   required to consider reliance interests before terminating the program: “[B]ecause DHS was ‘not

   writing on a blank slate,’ it was required to assess whether there were reliance interests, determine

   whether they were significant, and weigh any such interests against competing policy concerns.”

   Regents, 140 S. Ct. at 1915. So too here.

           Finally, the CDC purports to assert, in the alternative, that it would have treated the States’

   reliance interests as “outweigh[ed]” even if it had considered them. Termination Order, Order at 25.

   But “[s]tating that a factor was considered ... is not a substitute for considering it.” Texas v. Biden, 20

   F.4th at 993 (citation omitted)). Simply put, the CDC cannot cure its failure to do its job by stating, in

   conclusory fashion, that it would have come to the same conclusion if it had done its job. The CDC’s

   “failure to consider the regulatory alternatives … cannot be substantiated by conclusory statements.”

   Id. (quoting Corrosion Proof Fittings v. EPA, 947 F.2d 1201, 1226 (5th Cir. 1991)).

           B.      The CDC’s Failure to Consider the Immigration Consequences of Its
                   Termination Order Is Arbitrary and Capricious
           As even the President’s allies admit, the Termination Order is likely to have catastrophic

   consequences for an already-fraught situation at the border. The Government itself predicts a massive

   increase in illegal immigration as a result of the Order, potentially doubling or even tripling unlawful

   border encounters over the current historic highs. Supra at 9-11. Yet the CDC gave no meaningful

   consideration to this harsh reality as it assessed only mitigation measures as applied to current border



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   trends, or its impact on the States, border communities, and lawfully present Americans. The CDC’s

   refusal to consider the immigration consequences of its Termination Order is arbitrary and capricious.

                   1.      The Termination Order contradicts itself in failing to consider
                           immigration consequences
           As with its refusal to consider State reliance interests, the CDC erroneously contends that it

   “did not need to” consider the catastrophic immigration and border-control consequences of

   terminating its Title 42 policies at the worst possible time—right at the beginning of summer

   migration. Regents, 140 S. Ct. at 1913. The CDC reasons that it need not—indeed, cannot—consider

   such consequences because Title 42 is not an immigration-control provision: “[T]he CDC Orders

   issued under [Title 42] are not, and do not purport to be, policy decisions about controlling

   immigration; rather … CDC’s exercise of its authority under Section 265 depends on the existence of

   a public health need.” Order at 25. The CDC argues, “42 U.S.C. § 265 only authorizes the CDC to

   prevent the introduction of noncitizens when it is required in the interest of public health,” id., and

   thus termination of the policy is mandatory “once CDC determined that there is no longer sufficient

   public health risk present with respect to the introduction of covered noncitizens.” Id. In other words,

   CDC argues, it lacks statutory authority to consider immigration consequences in deciding whether to

   extend or terminate the Title 42 policy. Id.

           This is arbitrary and capricious for two reasons. First, it contradicts the CDC’s own reasoning.

   Immediately after stating that termination is mandatory regardless of its immigration consequences,

   the CDC states that “[t]his Termination will be implemented on May 23, 2022, for the operational

   reasons outlined herein.” Id. at 25-26 (emphasis added). But CDC makes very clear that it has

   determined that there is no longer a public-health justification for the Title 42 policy now. See, e.g., id.




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   at 20 (“[L]ess burdensome measures are now available to mitigate the introduction, transmission, and

   spread of COVID-19 resulting from the entry of covered noncitizens”) (emphasis added).3

           Notwithstanding its clear determination that the public-health justification for the Title 42

   orders is no longer valid now, the CDC delays implementation of the Termination Order for seven

   weeks, until May 23, 2022, “for operational reasons.” Id. at 25-26. These “operational reasons”

   comprise non-public-health considerations—notably, DHS’s “resumption of border operations under

   Title 8 authorities.” Id. at 28. Though the CDC insists that the seven-week delay is due, at least in part,

   to DHS’s plan to implement a vaccination program for arriving immigrants, id., it also states explicitly

   that the public-health justification for the Title 42 policy no longer exists regardless of whether DHS

   has implemented its vaccination program. Id. at 22 n.145 (“CDC believes the serious risk to public

   health that the CDC Orders were intended to address has been sufficiently alleviated, even in the absence

   of complete implementation of the DHS vaccination program.”) (emphasis added). In addition, the CDC makes

   clear that its seven-week delay in implementation is based on other non-public-health considerations

   as well—particularly, DHS’s ability to “operationalize” to address the additional influx of immigrants.

   “The implementation timeline of this termination will provide DHS with time to … ready its

   operational capacity … and prepare for resumption of regular migration under Title 8.” Id. at 28. CDC

   acknowledges that “DHS reports that it is taking steps to plan for such increases” in illegal

   immigration, and that “[p]utting such plans in place, ensuring that the workforce is adequately and

   appropriate[ly] trained for their shifting roles, and deploying critical resources require time.” Id. For



   3
     See also id. at 21 (because “other public health measures are now available to provide necessary public
   health protection,” the risk of COVID-19 transmission “does not present a sufficiently serious danger
   to public health to necessitate maintaining the August order”); id. at 22 n.145 (“[G]iven the current
   status of the pandemic and the range of measures currently in place … CDC believes the serious risk
   to public health … has been sufficiently alleviated”); id. at 23 (“At this point in the pandemic, the
   previously identified public health risk is no longer commensurate with the extraordinary measures
   instituted by the CDC Orders.”); id. at 27 (“I find that there is no longer a public health justification for the
   August Order and previous Orders… [T]he justification … is no longer sustained.”) (emphases added).
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 these reasons, “[t]his Termination will be implemented on May 23, 2022, to provide DHS with

 additional time to ready such operational plans.” Id.

         The CDC, therefore, speaks out of both sides of its mouth on this issue. To the States and

 others adversely affected by illegal immigration, it asserts that it has no statutory authority to consider

 the impact on illegal immigration in crafting and rescinding Title 42 orders. Id. at 25. Instead, it says

 that its hands are tied—it may only consider public-health justifications, and once those no longer

 exist, it must rescind the orders even if that would have catastrophic immigration consequences. Id.

 But to the federal agency most affected—DHS—the CDC sings a different tune. For DHS, the CDC

 is willing to consider “operational” concerns, “deploying critical resources,” “[p]utting … plans in

 place,” “ensuring that the workforce is adequately and appropriate [sic] trained,” “ready[ing]

 operational capacity,” and similar non-public-health practical factors, to justify a significant extension of

 a public-health policy that CDC insists no longer has a public-health justification. Id. at 26, 28. This

 reasoning is self-contradictory. If the CDC can consider the practical impacts of the anticipated

 upsurge in illegal immigration on DHS’s “operational capacity,” id. at 28, it can—and must—consider

 the practical impacts of that upsurge on the rest of the country, including the States.

         Second, “immigration consequences” are certainly an important part of the public health

 problem, meaning failure to consider them is irrational decision-making. Title 42 never would have

 been necessary if the northern or southern borders experienced only 1-2 attempted crossers per day.

 Numbers are extremely relevant to public health risk. In forgetting that, CDC claims it has tools to

 combat Covid -19, and thus the Title 42 policy is no longer required—but will those tools be sufficient

 when the numbers climb to 18,000 border crossings per day as presently predicted? Rogers Decl. Ex.

 5. It strains credulity to imagine that CDC could even screen that number of migrants for

 communicable diseases (including Covid-19). CDC certainly never indicates otherwise. And even if it

 could, CDC nowhere demonstrates it could treat or mitigate communicable diseases for that number


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 of migrants. At best, CDC hopes to vaccinate up to 6,000 migrants per day when fully operational.

 Rogers Decl. Ex. 17. That does nothing to address the serious risk presented by the Administration’s

 own immigration assessments. By failing to consider immigration consequences in assessing danger

 to public health risk, CDC failed to consider an important aspect of the problem.

                 2.      Under the APA, the CDC must consider non-public-health impacts of
                         its policy change
         Second, the CDC’s contention that it lacks authority to consider non-public-health concerns

 in adopting a major policy change contradicts the APA. As Regents and State Farm held, the CDC must

 consider all important aspects of the problem in adopting the rescission order. Even if the CDC

 ultimately decides to give them limited weight, for either legal or factual reasons, it must at least

 consider them. It failed to do so here.

         Regents makes this very clear. In Regents, the Supreme Court considered the termination of

 DACA, an immigration-related policy. But in terminating DACA, the agency was not allowed to limit

 its consideration only to the “operational” impact on immigration policy. Instead, the Supreme Court

 held that it was arbitrary and capricious to fail to consider a wide range of non-operational, and even

 non-immigration-related, factors impacted by DACA. Regents, 140 S. Ct. at 1913-14. “When an agency

 changes course … it must be cognizant that longstanding policies may have engendered serious

 reliance interests that must be taken into account.” Id. at 1913 (quotation marks omitted) (citation

 omitted)). Such interests extend beyond the immigration-related (or, here, public-health-related)

 considerations that led to the policy in the first place. Id. In Regents, these included the fact that “DACA

 recipients have enrolled in degree programs, embarked on careers, started businesses, purchased

 homes, and even married and had children,” id. at 1914; that cancelling DACA would impact “the

 schools where DACA recipients study and teach,” and “the employers who have invested time and

 money in training them,” id.; that cancelling DACA would “result in the loss of $215 billion in

 economic activity and an associated $60 billion in federal tax revenue,” id.; and (as discussed above)

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 that “States and local governments could lose $1.25 billion in tax revenue each year,” id. These factors

 went beyond the “operational” concerns, and extended far beyond even immigration-related concerns,

 to areas (such as federal and state tax collection) where DHS had no statutory authority whatsoever.

 Yet Regents held that the agency (DHS) was required at least to consider these important impacts of its

 sudden change in policy. “[T]hat consideration must be undertaken by the agency in the first instance,

 subject to normal APA review.” Id. at 1913-14. “There was no such consideration in the Duke

 Memorandum,” and there was no such consideration here. Id. at 1914. Instead, CDC “did not appear

 to appreciate the full scope of [its] discretion.” Id. at 1911.

         As discussed above, the CDC’s decision to consider the immigration consequences of its

 decision only in the context of accommodating DHS’s “operational” concerns, Order at 28, makes its

 decision even worse. By considering DHS’s operational concerns and delaying implementation for a

 full seven weeks based on them, the CDC effectively concedes that it does have authority to consider

 the impact of terminating Title 42 on illegal immigration. By delaying its Order, it effectively concedes

 that it does have authority to consider “alternatives” short of full termination “within the ambit of the

 existing policy.” Regents, 140 S. Ct. at 1913. But it artificially cabins its consideration to one tiny slice

 of the problem—DHS’s “operational” concerns—while ignoring the catastrophic non-public-health

 consequences of an enormous surge in illegal immigration at the height of the migration season for

 the States, border communities, American citizens, and lawfully present aliens.

         Finally, the CDC’s recital that it “recognizes that the Termination of the August Order will

 lead to an increase in the number of noncitizens being processed in DHS facilities,” Order at 28, does

 not cure this problem for two reasons. First, as discussed above, this statement occurs only in the

 context of acknowledging (and accommodating) DHS’s “operational” concerns, while giving no

 consideration whatsoever to the consequences of increased illegal immigration on the States and

 others. Id. Second, this one-line recital is made in conclusory terms with no discussion of the potential


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 scope of the problem or any of its practical impacts. As noted above, “[s]tating that a factor was

 considered ... is not a substitute for considering it,” Texas v. Biden, 20 F.4th at 993 (quoting Getty v. Fed.

 Sav. and Loan Ins. Corp., 805 F.2d 1050, 1055 (D.C. Cir. 1986)), and the CDC’s “failure to consider the

 regulatory alternatives … cannot be substantiated by conclusory statements.” Id. (quoting Corrosion

 Proof Fittings, 947 F.2d at 1226).

          In sum, the CDC cannot have it both ways. It cannot insist to the States that it may only

 consider public-health concerns, while granting a significant change in policy to accommodate DHS’s

 non-public-health, “operational” concerns. If the CDC may consider the impact of a massive surge in

 illegal immigration on DHS’s “operational capacity,” it must consider the impact on States, border

 communities, and ordinary Americans as well. Its refusal to do so is arbitrary and capricious.

                   3.       CDC’s Recent Extension Of Its Transportation Mask Mandate
                            Underscores The Termination Order’s Deficiencies
          The April 1 Termination Order is expressly predicated on improvements in the Covid-19 pandemic. See,

 e.g., Order at 22-23. But a mere 12 days later, CDC extended its mask mandate for transportation (airplanes,

 buses, etc.) because it fears of the BA.2 variant worsening the pandemic, Rogers Decl. 18 and 19—the very

 same fears it downplays in the Order. Order at 13. This divergence is not yet explained, rendering the Order

 arbitrary and capricious. CDC cannot simultaneously take actions based upon the Covid-19 pandemic both

 improving and deteriorating at the same time.

          Moreover, CDC discordant treatment of Title 42 and the mask mandate (and other restrictions) renders

 incredible CDC’s claims that it is “aligning the public health measures response … with the best available

 science.” Order at 20. That rationale is obviously pretextual and, at a bare minimum, the mask-mandate

 extension makes plain that the timing of the Title 42 Termination is overwhelmingly and self-evidently based

 on political grounds, not those of public health.

          An order may not stand if it rests on a “pretextual basis” Department of Commerce, 139 S. Ct. at 2573.

 Nor is this Court “‘required to exhibit a naiveté from which ordinary citizens are free.’” Id. at 2575 (2019)

 (citation omitted). And accepting that the differing treatment between Title 42 and the mask mandate is based

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 only on “best available science”—rather than the perfect correlation with the ideological views on the respective

 policies of the Administration’s political base—requires a level of naiveté that even the most credulous of our

 citizenry likely lacks.

 IV.      PLAINTIFF STATES WILL SUFFER IRREPARABLE HARM WITHOUT AN INJUNCTION
          Plaintiff States will also suffer irreparable harm in the absence of injunctive relief. As set forth

 above, the Termination Order will impose costs on the States in the form of increased law

 enforcement, education, and health care spending. See supra Section I. Indeed, states bear the “heavy

 financial costs” of supporting an increased number of immigrants “on state and local programs” as a

 consequence of a federal agency rulemaking. City & Cnty. of San Francisco v. U.S. Citizenship & Immigr.

 Servs., 981 F.3d 742, 762 (9th Cir. 2020). The Supreme Court has similarly recognized that States

 “bear[] many of the consequences of unlawful immigration.” Arizona, 567 U.S. at 397.

          Due to sovereign immunity, the States cannot recover damages from the federal government.

 Their irrecoverable injuries thus constitute irreparable harm. See, e.g., Texas v. Biden, 20 F.4th at 1001;

 East Bay, 993 F.3d at 677. Indeed, the Fifth Circuit has squarely recognized economic harms resulting

 from unlawful federal immigration policy as constituting irreparable harm. See Texas v. United States,

 809 F.3d 134, 186 (5th Cir. 2015), aff’d by an equally divided Court, 136 S. Ct. 2271 (2016).

          Plaintiffs have also suffered irreparable procedural harm tied to their unrecoverable monetary

 damages, having been deprived of the opportunity to provide input through notice-and-comment

 rulemaking. East Bay, 993 F.3d at 677 (“Intangible injuries may also qualify as irreparable harm,

 because such injuries ‘generally lack an adequate legal remedy.’” (citation omitted)). The States are

 subject to actionable harm when “depriv[ed] of a procedural protection to which [they] are entitled”

 under the APA, including the opportunity to shape the rules through notice and comment. Northern

 Mariana Islands v. United States, 686 F.Supp.2d 7, 17, 18 (D.D.C. 2009).




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 V.      AN INJUNCTION WOULD SERVE THE PUBLIC INTEREST
         The remaining Winter factors also support the States’ motion. As to the balance of harms, this

 case is unusual and the States’ arguments are uniquely strong. A preliminary injunction here will not

 only avoid harm to the States, but also prevent the federal government from perpetrating self-inflicted

 harm upon itself. Even CDC backhandedly acknowledges that its Termination Order is likely to cause

 calamitous immigration consequences—which is the entire basis for delaying the effective date until

 May 23 to mitigate those harms. Order at 28. But those harms to the federal government can be completely

 averted by entering a preliminary injunction—as well as the harms to the States. This case is truly rare

 in that a preliminary injunction will avoid harms to all sides. Here there is no balancing to be had,

 because all the harms are on one side of the scale.

         The public interest also favors the states: “The ‘public interest is in having governmental

 agencies abide by the federal laws that govern their existence and operations.’ And ‘there is generally

 no public interest in the perpetuation of unlawful agency action.’” Wages & White Lion Invs., L.L.C. v.

 FDA, 16 F.4th 1130, 1143 (5th Cir. 2021) (cleaned up). Because the Termination Order’s

 promulgation violates the APA multiple times over, the public interest favors enjoining it.

 VI.     THIS COURT SHOULD ENTER A NATIONWIDE INJUNCTION.
         This Court should enjoin implementation of the Termination Order nationwide, and not just

 in Plaintiff States. On this issue, “the Fifth Circuit’s precedent in this area is applicable and

 controlling.” Texas v. United States, 524 F. Supp. 3d at 667. In this context “a geographically-limited

 injunction would be ineffective” as once migrants crossed U.S. borders in other states they “would be

 free to move among states.” Texas v. United States, 809 F.3d at 188. Instead, “immigration policy” is

 supposed to be “a comprehensive and unified system.” Id. Moreover, given that Plaintiffs include 21

 states, an injunction limited to those states could create an unworkable patchwork.




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        Given the magnitude of harms that even Defendants predict will occur if Title 42 is permitted

 to expire in the current context, it should not be permitted to go into effect anywhere.

                                           CONCLUSION
        For the foregoing reasons, this Court should grant Plaintiff States’ Motion for a Preliminary

 Injunction.




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 Dated: April 14, 2022                      Respectfully submitted,
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                                    APPENDIX

       Table 1: DHS Encounters by Month




  Source: https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters




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 Table 2: DHS Expulsions Under Title 42 Policy




 Source: https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters




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